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1    SCOTT N. CAMERON
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2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     CUONG HOANG
5
6
7                      IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.    2:10-CR-00168 JAM
                                   )
11                  Plaintiff,     )       STIPULATION AND [PROPOSED] ORDER
                                   )       VACATING THE CURRENT DATE SET FOR
12        v.                       )       JUDGMENT AND SENTENCING OF CUONG
                                   )       HOANG AND SETTING CASE FOR STATUS
13   COUNG HOANG, et. al.          )       ON SENTENCING
                                   )
14                  Defendants.    )
                                   )       DATE: January 8, 2013
15                                 )       TIME: 9:45 a.m.
     ______________________________)       JUDGE: Hon. John A. Mendez
16
                                     Stipulation
17
          The parties, through undersigned counsel, stipulate that the date
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     set for judgment and sentencing of defendant CUONG HOANG, currently
19
     scheduled for January 8, 2013, may be vacated and that a hearing for
20
     “status on sentencing” may be had on January 15, 2013.        Further, it is
21
     stipulated that the current PSR disclosure schedule may be vacated and
22
     that a future PSR disclosure schedule may be set at the proposed
23
     hearing for “status on sentencing.”       This request of the parties is
24
     being made because it is anticipated that CUONG HOANG will be one of
25
     the last defendants sentenced in this matter.
26
          The Probation Department has been consulted regarding the above
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     stipulations and has no objections. The government has authorized the
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1    defense counsel for CUONG HOANG to sign this stipulation on his
2    behalf.
3    DATED: November 13, 2012                   BENJAMIN WAGNER
                                                United States Attorney
4
                                       by       /s/ Scott N. Cameron, for
5                                               Todd Leras
                                                Assistant U.S. Attorney
6
7    DATED: November 13, 2012
                                       by       /s/ Scott N. Cameron
8                                               Scott N. Cameron
                                                Counsel for Cuong Hoang
9
10                                      Order
11        Good cause appearing,
12        The date for judgment and sentencing of defendant CUONG HOANG,
13   presently scheduled for January 8, 2013, is vacated and the matter is
14   set for “status on sentencing” on January 15, 2013, at 9:45 a.m.
15   Further, the present PSR disclosure schedule is hereby vacated and a
16   further PSR disclosure schedule will be established at the hearing for
17   “status on sentencing” on January 15, 2013.
18
19        IT IS SO ORDERED.
20
21   DATED: 11/14/2012
                                                /s/ John A. Mendez
22                                              John A. Mendez, Judge
                                                United States District Court
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